Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 1 of 13 PageID 173



   1   EISNER GORIN LLP
       ALAN EISNER, State Bar # 127119
   2   14401 Sylvan Street, Suite 112
       Van Nuys, CA 91401
   3   Phone/ Fax: (818) 781-1570/5033
       Email: alan@egattorneys.com
   4
   5   Attorney for Defendant
       JAMES ROLAND JONES
   6
   7                            UNITED STATES DISTRICT COURT
   8                             MIDDLE DISTRICT OF FLORIDA
   9                                     TAMPA DIVISION
  10   UNITED STATES OF AMERICA,              )    Case No.: CR 21-33-KKM-JSS
                                              )
  11                     Plaintiff,           )    DEFENDANT’S SENTENCING
                                              )    POSITION; Exhibits
  12          vs.                             )
                                              )    Date: October 15, 2021
  13   JAMES ROLAND JONES,                    )    Time: 9:00 a.m.
                                              )
  14                     Defendant.           )    Before the Honorable Judge
                                              )    Kathryn K. Mizelle
  15
  16
  17         Defendant James Roland Jones, by and through his attorney of record, Alan
  18   Eisner, hereby respectfully submits his sentencing position.
  19
  20                                              Respectfully submitted,
  21                                              EISNER GORIN LLP
  22
  23   Dated: October 4, 2021
  24                                              ALAN EISNER
                                                  Attorney for Defendant
  25                                              JAMES ROLAND JONES
  26
  27
  28


                                                    1
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 2 of 13 PageID 174



   1                    MEMORANDUM OF POINTS AND AUTHORITIES
   2                                      I. INTRODUCTION
   3            “I made numerous very poor decisions, and I feel ashamed of myself for
   4            who I was when this occurred. This ordeal has caused me to stop and
   5            reflect on who I am as a person, how I treat the people around me, and the
   6            impact I want to leave on this world, and my community. I want you to
   7            know that I have grown and matured from this life-lesson, and I ask that
   8            you consider my apology when considering my sentence.”
   9   (Exhibit A – Defendant’s Letter to the Court at 1.)
  10            The words of Defendant James Jones, taken from his letter to the Court,
  11   demonstrate his sincere and unreserved acceptance of responsibility and deep remorse
  12   for his unlawful conduct. Defendant comes before the Court for sentencing having been
  13   convicted of his first criminal offense, a non-violent securities violation. His conduct
  14   deserves the sanction of a criminal conviction and strict terms of supervised release.
  15   However, Defendant respectfully submits that a custodial sentence is unwarranted given
  16   his complete lack of prior criminal history, his early acceptance of responsibility, and
  17   other mitigating factors, such as the substantial collateral consequences he has already
  18   suffered because of the public disclosure of his case and the identity of his employer –
  19   for whom he started working well after the conduct at issue had ceased – in a press
  20   release. Accordingly, Defendant will urge the Court to impose a three-year term of
  21   supervised release which includes reasonable conditions including extensive community
  22   service.
  23                        II. THE ADVISORY GUIDELINES RANGE
  24            Defendant concurs with the guideline calculations contained in the Presentence
  25   Investigation Report. (“PSR”, Doc. 25). 1 The calculated Offense Level of 13, at
  26   Criminal History I, results in an advisory guideline range of 12-18 months in Zone C.
  27
  28
       1   Defendant withdraws his earlier filed objections to the PSR, contained in Doc. 24.

                                                     2
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 3 of 13 PageID 175



   1                III. AN APPLICATION OF 18 U.S.C. § 3553(a) FACTORS
                            SUPPORTS A DOWNWARD VARIANCE
   2
   3          The overriding mandate of § 3553(a) requires district courts to impose a sentence
   4   which is “sufficient, but not greater than necessary,” to comply with the four purposes
   5   of sentencing set forth in § 3553(a)(2), which are: (a) retribution (to reflect seriousness
   6   of the offense, to promote respect for the law, and to provide “just punishment.”); (b)
   7   deterrence; (c) incapacitation (“to protect the public from further crimes”); and (d)
   8   rehabilitation (“to provide the defendant with needed educational or vocational training,
   9   medical care, or other correctional treatment”). In fulfilling this mandate, courts should
  10   not give the Guidelines more weight than any other relevant factor. See United States
  11   v. Carty, 520 F.3d 987, 991 (9th Cir. 2008) (en banc). Additionally, the court “may not
  12   presume that the Guidelines range is reasonable.” Peugh v. United States, 133 S.Ct.
  13   2072, 2080 (2013) (citation omitted).
  14          These admonitions recognize “the principle that the punishment should fit the
  15   offender and not merely the crime.” Pepper v. United States, 131 S.Ct. 1229, 1240
  16   (2011). Accordingly, as “information . . . concerning the defendant’s life and
  17   characteristics” is “[h]ighly relevant – if not essential – to [the] selection of an
  18   appropriate sentence,” Pepper, supra, the court must consider the history and
  19   characteristics of the defendant. 18 U.S.C. §§ 3553(a)(1).
  20          Defendant is a 33-year-old engineer with no prior criminal history. He was born
  21   in Indiana into a middle-class home where he lived with his parents and two younger
  22   sisters. Defendant maintains a strong relationship with his family, who have supported
  23   him emotionally during the pendency of this case. Defendant graduated from Cardinal
  24   Riddler High School in Indianapolis before earning his undergraduate degree from Rose-
  25   Hulman Institute of Technology in Terre Haute, Indiana. He earned a B.S. in
  26   Mechanical Engineering. From there, Defendant earned his Master’s Degree in
  27   Business Administration with a focuses in Supply Chain Management and International
  28   Business from the University of Indiana in 2013. (PSR ¶¶ 49, 63-66.)

                                                      3
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 4 of 13 PageID 176



   1          From 2008 to 2017, Defendant was employed full-time by Rolls-Royce in
   2   Indianapolis. He worked on development programs for the United States Air Force
   3   including top secret programs. He continued working with Rolls-Royce until obtaining
   4   employment with Space X in 2018. In that capacity, Defendant worked on the rocket
   5   engines which will likely propel a Space X rocket to Mars in the near future. As recited
   6   in the presentence report, Defendant’s offense conduct occurred almost exclusively
   7   between late-2016 and mid-2017, before he began work at Space X. The conduct at
   8   issue certainly did not involve Space X in any way.
   9          Nevertheless, on March 18, 2021, a press release was published titled, “Space X
  10   Engineer Pleads Guilty to Insider Trading.” (Available at https://www.justice.gov/usao-
  11   mdfl/pr/spacex-engineer-pleads-guilty-insider-trading, accessed September 30, 2021.)
  12   As of this writing, the press release is still publicly available and easily accessible by a
  13   Google search. Upon learning of the press release, Space X terminated Defendant for
  14   misconduct, effectively ending his otherwise spotless engineering career. (PSR ¶57.)
  15   Defendant is presently unemployed and supporting himself in substantial part through
  16   savings and family support.
  17          The Government is, of course, at liberty to publish anything they wish about a
  18   pending case provided it is not libelous. It is difficult, however, to escape the conclusion
  19   that the gratuitous description of Defendant as “Space X Engineer,” in the press release,
  20   when his employment was wholly unrelated to the case and in fact began after the
  21   offense conduct, was simply designed to create a splashier headline. That decision,
  22   almost certainly premised on a desire for greater publicity for the Department of Justice,
  23   exacted a tremendous collateral consequence on Defendant. In fashioning a sentence
  24   which is adequate, but not greater than necessary, to accomplish the goals of sentencing,
  25   the Court can properly consider this collateral consequence to which Defendant has
  26   already been subjected.
  27          If granted supervised release, Defendant would continue to enjoy the strong
  28   support of his family and friends, whose letters of support are collectively attached as

                                                     4
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 5 of 13 PageID 177



   1   Exhibit B. Defendant’s mother, MaCharri Vorndran-Jones, describes her son as a
   2   “respectful, honest, and generous amazing young man.” She notes the academic
   3   commitment which led her son to earn a postgraduate degree and a position at the
   4   highest levels of the engineering field. She relates to the Court her sincere belief that
   5   Defendant’s conduct in this case is aberrational and unrepresentative of his strong moral
   6   character. Defendant’s father, Tony Jones, recalls his son’s interest in tinkering with
   7   and fixing things even from a very early age. He relates his son’s dedication to the
   8   family, recalling how Defendant comforted his grandmother, herself suffering from
   9   Alzheimer’s, on the night Defendant’s grandfather passed away from lung cancer.
  10   Defendant’s strong family support will ensure his success while on supervised release
  11   and further recommends the propriety of a non-custodial sentence.
  12                                      IV. CONCLUSION
  13          For the foregoing reasons, Defendant requests the imposition of a sentence of
  14   three years supervised release with reasonable conditions including extensive ommunity
  15   service. Such a sentence reasonable, yet not greater than necessary to achieve the
  16   purposes of sentencing in this case.
  17
  18                                              Respectfully submitted,
  19                                              EISNER GORIN LLP
  20
  21   Dated: October 4, 2021
  22                                              ALAN EISNER
                                                  Attorney for Defendant
  23                                              JAMES ROLAND JONES
  24
  25
  26
  27
  28


                                                    5
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 6 of 13 PageID 178




                Exhibit A
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 7 of 13 PageID 179



To the Honorable Judge Julie S. Sneed,

My name is James Roland Jones, and I’m writing you in regards to my federal case of conspiracy to
commit securities fraud from 2017. I want to first acknowledge that what I did was wrong, and
unacceptable behavior, and that I’m truly sorry for the people I hurt from my actions. I made numerous
very poor decisions, and I feel ashamed of myself for who I was when this occurred. This ordeal has
caused me to stop and reflect on who I am as a person, how I treat the people around me, and the
impact I want to leave on this world, and my community. I want you to know that I have grown and
matured from this life-lesson, and I ask that you consider my apology when considering my sentence.

I am not a person known among my friends, or community, for committing crimes, or acting in the way I
acted in 2017 when this occurred. Before I was caught trying to make money from trading stocks and
manipulating people on the dark web, I had never been arrested, or even had a detention in school.
Outside of this case, I am a law abiding citizen who respects authority, and truly want to make humanity
and my community better. The people around me were shocked to hear I was involved in such a
scheme, because it’s completely separated from my normal character.

Before my case was made public, I was a Propulsion Engineer, working at SpaceX for the last 3 years
(since 2018). I’ve helped develop, design, and solve problems for the rocket that will take humanity to
Mars. Solving complex technical problems is a passion that drives me, and over the last 3 years, I have
worked many 80 hour weeks, and even some 100 hour weeks, in order to solve problems humanity has
never faced before in the rocket industry. I have started to transition this passion to my own
engineering business, to maintain my contributions to humanity. I pour my heart into my work, and truly
feel it’s something that will pay dividends to human-kind when I die.

Before becoming a Propulsion Engineer at SpaceX, I worked on jet engine development for the Air Force
at Rolls-Royce in Indianapolis. I received my Bachelor’s degree in Mechanical Engineering in 2010, and
my Master’s in Business Administration in 2013. Before this, I achieved my Eagle Scout award after
being a Boy Scout for 11 years. This taught me the importance of giving back to my community, and
how to be a kind person to others. I would perform community service projects for the local parks, feed
the homeless, and support can-food drives to feed the hungry. This has translated into my adult life;
and I make it a priority to support cleaning the beaches, donating to charities like St Jude’s Children’s
Hospital, and feeding the homeless with the extra water bottles and granola bars in my car.

I also put immense value on my family, and being a supporting son and big brother. My two younger
sisters look up to me, and telling them about this whole situation will be one of the most painful scars
once it's finished. It forced me to swallow my pride, and show them an ugly side of who I was. I’m the
son who helped my mom cook Easter dinner for the family to eat in the hospital room, while my father
battled kidney failure. I was the shoulder my grandmother cried into when my grandfather passed away
in 2016. I want to regain the respect of my family, and ensure I never give them a reason to think poorly
of me again. I look forward to starting my own family one day, and setting an example for my own kids,
and show them the same love my parents gave to me.

My crime of conspiracy to commit to securities fraud is inexcusable, and I want to ensure I pay my debt
to society. I want to make things right, and I want to move past this dark period in my life. I have grown
from this experience, and gained a fresh perspective on how to treat people better, and make sure I
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 8 of 13 PageID 180



leave a positive impact on the world. I am truly sorry for what I did, and I ask that you please consider
this as you review my punishment and sentencing.

Thank you,

James Roland Jones
September 30, 2021
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 9 of 13 PageID 181




                 Exhibit B
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 10 of 13 PageID 182



November 22, 2020



The Honorable Julie S. Sneed
United States District Judge


Regarding: United States v Jones

Dear Judge Sneed:

James Jones is my first-born child, my only son. James and I have treasured our wonderful relationship
his entire life. Our family cherishes every moment we have with James beginning even before he was
born. We continue to feel blessed to have such an amazing, thoughtful, kind son. James epitomizes the
all-American boy maturing from a sweet small-town boy to a respectful, honest, and generous amazing
young man.

James genuinely cares about other people. As a fairly young boy, he enthusiastically helped us gather
clothing and food for the needy every holiday, he personally delivered care items and food to homeless
people in Indianapolis, regularly volunteered and participated at our church, continuing to serve others
through his high school years. James achieved the status of Eagle Scout through his service and
leadership in the boy scout program. Fairly recently, James sent a note that he was helping with science
day with other SpaceX employees. James continues to serve his community.

James demonstrated leadership and integrity as co-captain of the varsity boy’s tennis team, and a leader
on the high school varsity swim team. James embraced the high school experience, earning varsity
letters each year competing on the tennis and swimming teams. James excelled through relentless
practice making the Indianapolis all-city swim team, and All Conference tennis doubles. James was a
National Honor Society member, almost always earning honor roll through out his education.

James demonstrated academic commitment as he earned his Bachelor of Science degree in mechanical
engineering from the rigorous program at Rose Hulman School of Engineering in Indiana. James
accepted an engineering position at Rolls Royce in Indianapolis supporting aerospace engine
development. James earned his Master of Business Administration by attending the night program at
University of Indianapolis. James and a colleague developed their own recipe for vodka, created their
own business, and marketed their micro-distilled product, Mogul vodka. Two years ago we were so
proud to learn that James accepted an engineering job with SpaceX in Los Angeles, California. James
immediately thrived working on SpaceX projects enabling travel to Mars and the moon. James
continues to excel at SpaceX, earning corporate recognition for his contributions toward SpaceX rocket
engine development.

James is loved by his entire family, and extended family. James is exceptionally considerate, always
sending cards and gifts for family member birthdays, Christmas, Easter, Mother’s Day, and Father’s Day.
I recall the summer when James was only about 13 years old and he rode his bicycle over four miles to a
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 11 of 13 PageID 183



store so he could buy me a book for my birthday gift. James calls us almost every week, and he
manages to be home for every important event. James puts family relationships above his own
interests. James went on regular fishing trips with his Dad and Grandpa, when Grandpa was still alive,
despite not really caring about fishing. We all fondly treasure the stories from their adventures. When
James lived in Indianapolis, he often helped us with projects at our mini-farm and regularly joined us for
lunch. James came immediately to support us when his Grandpa was actively dying in hospice. James
came to the hospital every day to support and pray with me when his Dad had an extended
hospitalization including a near death experience in 2018. James is crucial for our family well-being.

I sincerely believe that James is a good person, and this situation is truly an aberration that will never be
repeated. James is my only son. He is a loving son, brother, grandson, and conscientious citizen.

Thank you, Your Honor, for taking my thoughts into consideration as you deliberate James’ sentence. I
am pleased to offer my support to James in any way that may be helpful or necessary.

Sincerely,
MaCharri Vorndran-Jones
Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 12 of 13 PageID 184



May 19, 2021



Dear Judge:

My name is Tony Jones, the father of James Jones, whose case you are presiding over. I am writing to
provide you with an impression of the James that I know as a loving son, brother, and grandson.

From a young age, James was always eager to dig into the details of how things worked, and maybe find
a way to make them work better. I used to remove the batteries from his noisy toys when they became
too annoying. But he quickly figured out what was happening and would search for new batteries to fix
that toy. I believe it was this type of analytical attention to how things work that led him to his career as
a mechanical engineer. His eagerness to make things better also drove his entrepreneurial spirit to start
a successful vodka distillery business with a friend. Their vodka was very popular at some of the best
upscale restaurants around Indianapolis, and across the state of Indiana. I believe James was the create
partner that pushed for the unique taste of their vodka, as well as the force behind their marketing
efforts. He has always been very outgoing and not afraid to strike up a conversation with strangers. I
think this is how connected with members of the Indy Racing League, and eventually became friends
with several of the Indy Car drivers. They would often call and invite him to special events and birthday
parties when they were in Indianapolis.

James has always been very devoted to family matters as well. He was a huge help when his grandfather
was dying from Stage-4 lung cancer. On that final night, James was with all of us at the bedside
comforting his grandmother, who happens to be suffering from Alzheimer’s. James is the one who can
always keep her calm and get her to do the things she needs to do without confrontation. His mother
calls him “the Nana Whisperer”, because he can get Nana to do things, like eat, while the rest of us end
up in an argument with her over the same things. He always makes time to go and visit her in the
Assisted Living facility when he comes home for a visit. And he is the one grandchild she always
recognizes.

Thank you for taking time to read my letter regarding James. I hope this offers you a better view of who
he truly is at heart. He always has been, and will continue to be loved as the wonderful son, brother, and
grandson that he is.



Sincerely,

Tony Jones
       Case 8:21-cr-00033-KKM-J_S Document 34 Filed 10/04/21 Page 13 of 13 PageID 185

 Anthony M. Joseph
5937 Weldra Drive Zionsville, IN 46077 Phone: (317) 989-9853
E-Mail: josepha225@gmail.com



May 12, 2021


Dear Judge:

I met James in 2007, while he was attending Rose-Hulman Institue of Technology. He was the roommate of my best
friend at the time. After only a couple of years knowing James, he quickly became my closest friend. Throughout
our current 14-year friendship, we have been colleagues at Rolls-Royce (2011-2012), classmates at the University
of Indianapolis while we completed our Masters’ in Business Administration, and even business partners for 5
years until he moved from Indiana to California to pursue a career at SpaceX in 2018.

I am writing this letter to express my support for James. Despite the trouble he has found himself in, James
continues to be among the people that I trust and respect the most. Prior to meeting James’ he obtained an Eagle
Scout rank from the Boy Scout’s of America. His loyalty, dedication, and care for the environment persisted into
adulthood, where he encouraged us as business partners to volunteer together for a local non-profit, Keep
Indianapolis Beautiful, where we loaded, moved, and planted trees around our city. As founders of one of Indiana’s
first licensed distilleries, James and I were at the forefront of the craft distillery industry in Indiana. As a self-less
leader, James took it upon himself to take a leadership role in founding the Indiana Distiller’s Guild to lobby for
regulation changes to lower the barrier of entry (despite having already overcome the hurdles personally) to
encourage the industry to continue to grow and pave the way for success for future local craft distilleries.

James was an exceptional business partner. Given that we both had no previous experience as business owners, I
relied heavily on his ability to set thoughtful short- and long-term goals to provide our business direction. As well
as his determination and leadership to ensure that we worked towards achieving those goals. Our business
together concluded a few months after James accepted a position at SpaceX. His excitement and passion for SpaceX
and their mission was immediately obvious. It is very saddening to me to see that he lost that position as a result of
this case. I know there will be significant obstacles he will continue to face that must be overcome to find
meaningful work in the future, but if the opportunity arose – I would without question be willing to partner with
him again on future business endeavors.

I know your time is valuable, and I want to personally thank you, Your Honor, for your willingness to learn a little
more about James from someone that has had the great pleasure of getting to know him so well. It is my hope that
the court takes this letter into consideration at the time of sentencing.

If you have any additional questions, or would like to discuss any information about James further, please do not
hesitate to call my cellphone at (317) 989-9853, or send me an email at josepha225@gmail.com

Sincerely,



Anthony M. Joseph
